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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                   March 16, 2018
                         UNITED STATES DISTRICT COURT
                                                                                 David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

JULIAN PEREZ,                                §
                                             §
        Plaintiff,                           §
VS.                                          § CIVIL ACTION NO. 2:16-CV-127
                                             §
NEW BREED LOGISTICS, INC., et al,            §
                                             §
        Defendants.                          §

                                  FINAL JUDGMENT

       Pursuant to the Joint Stipulation of Dismissal (D.E. 73), the Court enters final

judgment dismissing this action with prejudice.

       ORDERED this 16th day of March, 2018.


                                              ___________________________________
                                              NELVA GONZALES RAMOS
                                              UNITED STATES DISTRICT JUDGE




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